- CASO 2272S Gainssa1 cldaopH ose ERR EM EPS T8728 59K dst Anibit

a eee

_— —_ FILED
Debtor 1 Josenh Severine U.S. Bankruptcy Court
Debtor 2 Northern District of (inois
if fling) 4/1/2022
Jeffrey P. Alisteadt, Clerk
Case number. 22-00769 ¥

Official Form 410
Proof of Claim Q4/22

Read the instructions before filling out this form. This form is far making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to orivacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements, Bo not send original documents; they may be destroyed after scanning, If the documents are not available,

expiain in an attachment.
A person whe files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 16 U.S.C. §§ 162, 167, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

an Identify the Claim

1 .Who is the current Jacquie Urbano and John Urbano
creditor?

Name of the current creditor (the person or entity to be paid for this claim)

Other narnes the creditor used with the debtor

2 Has this claim been No

acquired from Li Yes. From whom?
someone else?

3.Where should notices Where should notices to the creditor be sent? | there should payments tothe creditor be sent?.(if |

d h : ferent
and payments wt ° Jacquie Urbano and John Urbane
Federal Rule of Name Name
Bankruptcy Procedure dee
(FRBP) 2002(g) William S. Hackney

SmithAmundsen LLC
150 North Michigan Ave., Suite 3300

Chicago, IL 60601

Contact phone 372-894-3376 Contact phone

Contact email

whacknev@salawus.com

Contact email

Uniform claim identifier for electronic payments in chapter 13 (if you use one):

4.Does this claim amend Mi Ne
one already filed? CI Yes. Claim number on court claims registry (if known) Filed on

MMA DID / YYYY

No
Yes, Who made the earlier filing?

5.Do you know if anyone
else has filed a proof
of claim for this claim?

OB}

Official Form 410 Proof of Claim page 1

Es Case 2D-CO7ES Gainsso1 rfdahoweh22 eReseMen aes Sey. 2aqpechlEnibit

rtewes Give Information About the Claim as of the Dale tHe Ageeaveb Giled

6.Do you have any No
number you use to fC] Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:

identify the debtor?

iY How much is the $ 719493.03 Does this amount include interest or other charges?
claim? [] No
M Yes. Attach statement itemizing interest, fees, expenses, or
other charges required by Bankruptcy Rule 3004(c)(2)(A)}.

&.What is the basis of Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
the ciaim? death, or credit card. Attach redacted copies of any documents supporting the claim required by
Bankruptcy Rule 3001(c}.

Limit disclosing information that is entitled to privacy, such as healthcare information.

Money loaned secured by real property.

9. 1s all or part of the [2 Ne
claim secured? ia Yes. The claim is secured by a lien on property.
Nature of property:
id Reai estate. If the claim is secured by the debtor's principal residence, file a Morigage
Proof of Claim Attachment (Official Form 410-A) with this Proof of Claim.
(] Motor vehicle

CX Other. Describe:

Basis for perfection: Recorded Mortgage

Attach redacted copies of documents, if any, that show evidence of perfection of a security
interest (for example, a mortgage, lien, certificate of title, financing statement, or other
document that shows the lien has been filed or recorded.)

Value of property: $ © 136C6000.00

Amount of the claim that is s 719493.63

secured:

Amount of the claim that is $ 0.00 (The sum of the secured and
unsecured: unsecured amounts should

match the amount in line 7.)

Amount necessary to cure any defaultas ofthe § 74949303
date of the petition:

Annual Interest Rate (when case was filed} 417.45 of
Mi Fixed
Cl Variable
10.1s this claim based on No
a lease? [2 Yes. Amount necessary to cure any default as of the date of the petition.$

111s this claim subject to No
a right of setoff? Ll Yes. Identify the property:

Official Form 440 Proof of Claim page 2
- Case 23-0878S Baigsor? edaseH oes? ERRIEMeH ERS TEB7.25 296 ace Enibit

42./s all or part of the claim
entitled to priority under
At U.S.C. § 507ta)\?

M No

I Page 3s org

[Ll] Yes. Check all that apply:

Amount entitled to priority

A claim may be partly
priority and partly

faw limits the amount
entitied to priority.

CF Dernestic support obligations (including alimony and child support) ¢
under 11 U.S.C. § 507(a)(1}(A} or (a)CT M(B).

[] Up to $3,350* of deposits toward purchase, lease, or rental of ¢

nonpriority. For exarmpie,
in some categories, the
property or services for personal, family, or household use. 11

U.S.C. § 507(aN7).

DL Wages, salaries, or commissions (up to $15,150*) earned within =

180 days before the bankruptcy petition is filed or the debtor's

business ends, whichever is earlier. 17 U.S.C. § 507(a}(4).
C] Taxes or penalties owed to governmental units. 11 U.S.C. § $

507(a)(8).

[Cl Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(S).

[J Other. Specify subsection of 11 U.S.C. § 507(a}(_) that applies $

* Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date

of adjustment.

Sign Below

The person compteting
this proof of claim must
sign and date if. FRBP
9671(b)}.

lf you file this claim
electronically, FRBP
5005(a\(2} authorizes courts
te establish focal rules
specifying what a signature
is.

A person who files a
fraudulent claim could be
fined Lip to $500,000,
imprisoned for up to 5
years, or both,

18 U.S.C. §§ 152, 157 and
3571.

Check the appropriate box:
i fam the creditor.

® 1am the creditor's attorney or authorized agent.
O fam the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
[1 !am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.

| understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating

the amount of the claim, the credifor gave the debtor credit for any payments received toward the debt.

| have examined the information in this Proof of Claim and have a reasonable belief that the information is true

and correct.

| declare uncer penalty of perjury that the foregoing is true and correct.

Executed on date

4/1/2022

MM/DDIYYYY

{sf /sf William S. Hackney

Signature

Print the name of the person who is completing and signing this claim:

Name

Title

Company

Address

Contact phone

312-894-3370

/s/ William S. Hackney

First name Middle name Last name
Attorney
SmithAmundsen LLC

identify the corporate servicer as the company if the authorized agentis a

servicer

150 North Michigan Ave., Suite 3300

Number Street
Chicago, [L 60601

City State ZIP Code

Email

whackney@salawus.com

Official Form 410

Proof of Clalm

page 3

RS AWAH BES FARE 7194 tered HALA 6728 | bese Exhibit

1 Page4of9

7 30 | abed }UBWUSERy WHRID {0 10014 abebuow WHOLE Wud jew

2 i | |
= : : | ven a
* } : |
ul — : Ly -
Z i | | |
A 3 pt —
- — i _
o i i i
N : : i -
mS :
GQ —- _t : _
a !
a 7 ~ ~~ ~ i i :
N { : : : /
N
~~ | i :
Deane eee es i | _ eo
a i : :
~~ : i :
M ' ' : :
oO i i ! :
oD '
© ne i i i : oe
Go |
=5 | - _—t | :
LU in | : et
2 soueegq “soured gauged safueyo mosa jSelspy dowd aougieg qungue
N C spur SeGueyo aouejeq jseielul soueleg i spun, Jo saa; o} 3} ah Oo} arp ised ase alee ang geunou) peaeod piawded
ao payddeup, | 79884 Mmoinsg pemooy diouug payddeu nowy Junouy lunguny jUAOLy “BE fuue jemcejueg cogduaseg juncuny Sspuny WAPeAUuCD 28h
ad D ‘d ‘O ‘KOU oy “4 ¢ t WoO Tg “4 3 d ‘3 ‘g W
od Lo. boo:
S pauNoul JO pealosey juNoly JeUy eoUeeg © ‘ peurou, punouyspancdy sayy SEUNG MOR ee Ayaury Lundooyy
3 : Poe * Lea ynepod 40 Be JSal4 Woy AO}SI WaulAeg uve] Tg Hed
i
j Sg : : UAUWOASsapU Bduus
d : , Ayenienioe oaxig
LO i 73 . : : LaF aa ye oyek
i . ‘efeieeue voqyedaid 1e}0, | Te GBF 5EL 4982 (BIOL Bf USHAIS
8 ‘ ipuBU UO Spun 983] — “pUEY UO spe yO} SSO] CFG ry Bogert le,
yuawAed . rye safe . t og IPEQueape sour tig: oy
. : Bewou aio - AmuUsp! 2) suai 4 382
| EA y And [eI . SEEHOUS MOISE PAIDE!O7c) 20 AQUaRQYSpD moNOSy] SHUSD! OF SHEE 7 IE]
oO : (ern enero
oO SOUBINSM: Coon. PSOUBAPe can S1809 ‘S39 ye AGS
Ss Oe" Ore abebyou Sead | $pury 20) Kouayap mousy LG OEE ase Ajg iP SISOS “S98 & 281689
oO OF © LAOLIGS ALQUCIAL AF ranp seep ucIedaid ao oeee or rand 1$as94u} ZS RSES Sel iL aoged
1
N “De F ™ - ysaeppiedpund = 2" nhs ch a ‘anp squajul y edoud = er OIE cae gouged jediguug bes. OG - BFR ETE MAQUI BSED .
% yuawAe dg abeBqow Ap OW (2 Hed UdHied Gy, JO sjeq jo se aGeueauy cf Ved UOeINIL7 198d [OE Cy ed MOVEWUOE asen pire obe brew i, ued
g
O “SUOMONSUL BLLIEGSS gag “WHETD 10 4oOud NCA 0} ]UBUINIERe UE SE ULIO) S14} GSM ySsnu ned ‘souapises jedjouud Si03gap auy Ul jSOJajU! QuNndes & Aq paimoas UES © Siu nod |i

(Sue1) JUDIUYDE}Y ULE] Jo ool ehebyoyy

gjozabeg Tluswysepy2seq Zz/TO/vO Palld 7 Ued T-6T WwIRID §=69L00-c¢ BSED
. Ease 22:60769 Siwis.9-1 Pasero7 fried VBHtered BPP ATBBISd Batessalsit
age 6 of 9

Proinideory:Note for a New Jersey Coan

THIS 1S AN ORIGINAL NOTE dated March, 3, 2020, WHEREIN THE PRIOR ORIGINAL
SECURED NOTE dated January 9, 2020, by tho-same partics listed below (S MERGED INFO
THIS DOCUMENT aad is no longer in effect onee this docwinent is fully executed with the
required mortgage. ADDITIONAL FUNDS IN THE AMOUNT OF $150,000.00 ave being
provided to the stated borrower and the filll amiunt due'and owing is new totaled on this Note on
this-day in the amount of Five Hundred Thousand $500,000.00 plus the agreed interest of
$30,000.00

Os this date of Match 3, 2020, for valuable consideration received, the undersigned barrower,

Joseph Severine,
721 Oriole Ave.,
Pask Ridge, Hs 60068;

Bromises to pay under and in secordaneé with New Jersey Tew to the lender:

Jacquie Urbano and Joh Urbano, husbead-and wile
§ Greeve Knoll Drive
Westfield, NJ O7090

Hive Hundred Thetisand Dollars($350,000.00) together with a flat fee interest ten percent
payment of Fifty Thousand Dollars ($50,000.00) on ortbefore Auguat 1, 2020-for a total payment
of Vive Hundbed and Fifty Thousand dollars. ( $590,000.00) to the Lender’ John Urbano and.
Jacquie Urbane.

TERMS OF REPAY MENT:

‘The loan repayment with With div stated interest.payment will be made on or before Auguat 1,
2020 to Juceuie Urbano and Joba Urbane by providing Certified Funds delivered to 8 Breeze

Knoll Dive, Westfield MY 07090,

This prouissory note is seckre by a raorigage on the proporty iovated at and owned by Josegh
Severiad lecsted at 1392 W. Old Mil Read, Lake Forest, TL. 60045,

PAYABLE ON DEMAND:

THis is notice and demand that the entire pritwipal and. stated inferedt is dae on August. 1, 2020, A
condition of this loan will liclude proof of a Lite insurarice Polley forthe tem of this loan, with
iy five days-a? dotapletion of this loan, forthe loan.amdimt andthe stated flat-foe interest totalitig
fe Bive Munddied Thousand Dollars on the life-of Joseph Severito with the beneficiaries of that
life inshranve policy ta-be Tacguie Urbano and John Urbane,

PLACE OF PAYMENT:
All payments due under thig note shall be made at the address above or at such Other place as the

holder of thig Note may designate in writing.
PREPAYMENT:

This Note can be prepaid in whole or in part at any time without penalty or cause any change in
the payments duc to the borrower.

DREAULT:
. Ease 22:68768 Slirsd9-1 PadPo7 files P4/Bitted BPA METERS Kase fini

fn the-event of defauiton August 1, 2020, the borrower agfagy Be and cxpenses.
incurred by the Lender inefading butnot liiited to all altornoy lees Gnchuding both hourly and
éontingent attorney fees permitted by New Jersey law) AND with a Eight thousand dollars
($8000) penalty per month for cach month thereafter of tot-nerformance, Additionally this
property will be have amorigage ablached to the purchased property at:

1392 W. Old Mill Road, Lake Forest, TL 60045.

MODIFICATION:
Mo modification of waiverdf any of fhe term of this Promissory Note shall be allowed unless by
written by Written agreement approved and singed by-all patties. No waiver of aby breach or

default Heseunider shall be deemed a-walverof anv subsequent Breach or defaulbel the same-or
similacnatire.

TRANSEER OF THIS NOTE:

Chis Note ix nottransferable ad is accured by the property: 1392 W. Ofd Mill Road, Lake Forest,
HL 60045.

SEVHRABILITY OF PROVISIONS:

Inthe event that any portion of Hils Note is deemed unenfnteenble, all other provisions of this
Satewhall retisin in Pull foree and effect,

CHOICE OF LAW:

Aifverns-and conditions of this Note shall be Hilerpreted. under the Laws of the State of New
Jersey, By teegiving the considérationoftils note, the borrower agrees and does hereby subimil
to the-serviee of nrosees within the State af New Jersey.

SIGNED UNDER PENALTY OF PERJURY, this ded" day of March, 2020.

ecxstsnde THR

Joseph Severino} — sense

oy

Siuned in the-presense oft

Witness siens: “} A tats te Ar

Witness prints name:

- GREPZOHED So@iB512-1 Fad d7/Tiled 4hheed OA AFAS ORE! Dee ExAbi

1 Page 8of9 pf
seer ee ne cenieehna ans -. a ame A mana
Please pater Thigdodumert has bean
a : . . Type MTG i
ve atin oe ak ge wh yee os Pacardad’ (1/20/2020 a:b42T PM
recorded electranicaily. This is the original. Fou Amt: $60.00 Page t ofS

Receipt: 202000084957

iL, Rentat Hagsing Fund: So:08.
Lake Courily It Recorder

Mary Ellen Vandewenter Recorder

File# 7719262

— Goo Bora |,

GREATER ILUNGIS TILE COMPANY
400 Eal Roosevelt Road
, Wigaton, ities 66167

Mortpage for recording:

Property:
70d WH Ma APT Boal,
Lube Fervayt, 2 dG045

PUNE £6-07-391-080
Prepared by:

MANDY i, PRELER, £80,
94% Capleton Read

Westfield, NF 7090
Cell: 998-805-1325
wandppecleresg@anl con

Fite Namber: 7719262 Page i of 5

. C&RSELAGATGS DGdaseL 1 9- ERA OF 1 THE OBAMA OF ES PBIRCAT SE! 1 Dde@4SRiBi®

Movlenge for recording:

Property:
1394 7. Old Mil Road,
Lake Forrest, 11 60045

PIN: [6~-07-301-088

Prepared by:

MANDY B. PEELER, ESO,
745 Carleton Roid
Westfield, NJ 07090

Cells 9G8-S03-1313
mandypeeleresg@aolcom

1 Page9of9

pe
